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                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                 Eastern Division

UNITED STATES OF AMERICA
                                       Plaintiff,
v.                                                   Case No.: 1:09−cr−00383
                                                     Honorable Sharon Johnson Coleman
, et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 6, 2025:


       MINUTE entry before the Honorable Sharon Johnson Coleman as to Ovidio
Guzman Lopez (22): Status hearing set for 5/12/2025 is stricken. An in−person change of
plea hearing is set for 7/9/2025 at 11:00 AM. Government shall provide the court with a
courtesy copy of the plea agreement at least 3 days prior to the plea. Time is excluded to
7/9/2025 pursuant to 18 U.S.C. § 3161(h)(7)(B)(i). Mailed notice. (ym)




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